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                               UNPUBLISHED

                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT


                               No. 10-6134


UNITED STATES OF AMERICA,

                Plaintiff - Appellee,

          v.

GARY EDWARD NIXON,

                Defendant - Appellant.



Appeal from the United States District Court for the Eastern
District of North Carolina, at Wilmington. James C. Fox, Senior
District Judge. (7:04-cr-00085-F-1)


Submitted:   August 25, 2010             Decided:     September 13, 2010


Before WILKINSON, NIEMEYER, and KING, Circuit Judges.


Affirmed by unpublished per curiam opinion.


Gary Edward Nixon, Appellant Pro Se.   Jennifer P. May-Parker,
Rudolf A. Renfer, Jr., Assistant United States Attorneys,
Raleigh, North Carolina, for Appellee.


Unpublished opinions are not binding precedent in this circuit.




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PER CURIAM:

            Gary Edward Nixon appeals the district court’s order

denying   his   motion   for    reduction   of   sentence        pursuant   to   18

U.S.C. § 3582(c) (2006).         We have reviewed the record and find

no reversible error.           Accordingly, we affirm for the reasons

stated by the district court.          United States v. Nixon, No. 7:04-

cr-00085-F-1 (E.D.N.C. Dec. 15, 2009).              We deny Nixon’s motion

for   appointment   of   counsel.      We   dispense     with     oral   argument

because the facts and legal contentions are adequately presented

in the materials before the court and argument would not aid the

decisional process.

                                                                         AFFIRMED




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